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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                             TALLAHASSEE DIVISION

                                                    )
CITY WALK - URBAN MISSION INC.,                     )
RENEE MILLER, and ANTHONY MILLER,                   )
                                                    )    CASE NO.:
        Plaintiffs,                                 )
                                                    )
vs.                                                 )
                                                    )
CITY OF TALLAHASSEE,                                )
                                                    )
        Defendant.                                  )
                                                    /


             PLAINTIFFS’ REQUEST FOR ORAL ARGUMENT
                                            ON
                MOTION FOR PRELIMINARY INJUNCTION

        Plaintiffs, herein request oral argument on their Motion for Preliminary Injunction

pursuant to Rule 7.1(K) N.D.Fla.Loc.R.. Plaintiffs estimate that one hour will be required

for the hearing. This Request is made for the following reasons:

        1.      Plaintiffs allege that the City’s requirement that they obtain approval of a

Type B Site Plan before they can operate a Transitional Residential Facility (in this case, a

religious mission catering to the homeless) is facially unconstitutional. In particular,

Plaintiffs maintain that this form of conditional zoning represents an unconstitutional prior

restraint. The claims arise under the Free Speech, Free Exercise and Free Association

Clauses of the First Amendment.

        2.      The constitutional issues are complex and require in-depth analysis of both

the law and the details of the City’s statutory scheme. Multiple pages of the Complaint
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were necessary to fully detail and explain the constitutional defects in the byzantine

procedures adopted by the City.

       3.      Briefing may be inadequate to fully present to the Court the legal basis for

Plaintiffs’ claims. Oral argument will permit a fuller development of the record and allow

the litigants an opportunity to address any issues the Court may raise.


       WHEREFORE, Plaintiffs request that their Motion for Preliminary Injunction be

set for oral argument as soon as the Court’s calendar permits.



                                                   Respectfully Submitted,

DUDLEY, SELLERS, HEALY &                           BENJAMIN, AARONSON,
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                                                      /s/ Gary S. Edinger
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